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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION
                       Case No. 2:19-cv-10458-DPH-RSW


JESSE KENNEDY,

             Plaintiff,                       HON. DENISE PAGE HOOD

v.

ARBOR PROFESSIONAL SOLUTIONS, INC.,

          Defendants.
_____________________/

                           NOTICE OF SETTLEMENT

      PLEASE TAKE NOTICE JESSE KENNEDY (“Plaintiff”), hereby notifies

the Court that the Plaintiff and all Defendants, have settled all claims between them

in this matter and are in the process of completing the final closing documents and

filing the dismissal. The Parties anticipate this process to take no more than 60

days and request that the Court retain jurisdiction for any matters related to

completing and/or enforcing the settlement. The Parties propose to file a stipulated

dismissal with prejudice within 60 days of submission of this Notice of Settlement

and pray the Court to stay all proceedings until that time.




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Respectfully submitted this 28th day of August 2019.

                                            /s/ Stephen A. Thomas
                                            STEPHEN A. THOMAS (P43260)
                                            Attorney for Plaintiff
                                            645 Griswold St., Suite 1360
                                            Detroit, Michigan 48226
                                            313-965-2265
                                            sthomas@313965bank.com

                           CERTIFICATE OF SERVICE

      I hereby certify that I today caused a copy of the foregoing document to be

electronically filed with the Clerk of Court using the CM/ECF system, which will

be sent to all attorneys of record.

                                            /s/ Stephen A. Thomas
                                            STEPHEN A. THOMAS (P43260)
                                            Attorney for Plaintiff




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